Case 2:05-cV-02286-BBD-STA Document 10 Filed 07/21/05 PagelofB Page|DlS

 

 

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UNITED STATES DISTRICT CoURT ` -¢-
FoR THE WESTERN DISTRICT oF TENNESSEE 95 JUL 21 AH 10-
AT MEMPHIS ' 45
ns de T”’§,W
JUI)Y GLICK, .
Plaimiff,
vs. No. 05-2286 D An
PATRICIA G. MOORE and
CARLA M. KETCHUM,
Defendant.
SCHEI)ULING 0R1)ER'

 

Pursuant to the scheduling conference Set by Written notice, the following dates were
established as the l`lnal dates for:
INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(3)(1): August 15, 2005
14 days after the 26(i) conference If not made before the Rule l6(b) conference, then 14
days after the Rule l6(b) conference
JOINING PARTIES: For Plaintiff: September 20, 2005
For Defendants: October 20, 2005
AMENDING PLEADINGS: F or Plaintiff: September 20, 2005
For Defendants: October 20, 2005
COMPLETING ALL DISCOVERY: February 20, 2006

(a) DOCUMENT PRODUCTION, DEPOSITIONS, INTERROGATORIES AND

REQUESTS FOR ADMISSIONS: February 20, 2006

Thls document entered on the docket '
wlth F\ufe 58 and/or 79(a) FRCP on

Case 2:05-cV-02286-BBD-STA Document 10 Filed 07/21/05 Page 2 of 5 Page|D 14

(c) EXPERT WITNESS DISCLOSURE (Rule 26): Decernber 20, 2005

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT

INFORMATION: December 20, 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT

INFORMATION: Ja.nuaiy 20, 2006
(3) EXPERT WITNEss DEPosirloNs; February 20, 2006

FILING DISPOSITIVE MOTIONS: March 20, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):
For Plaintiff: 45 Days before trial
For Defendant: 30 Days before trial
The parties shall have 10 days after service of final lists of Witnesses and exhibits to file
objections under Rule 26(a)(3).
This case is set for jury trial, and the trial is expected to last two days. The pretrial order date,

pretrial conference date, and trial date Will be set by the presiding judge
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date All motions,

requests for admissions, or other filings that require a response must be filed sufficiently in

Case 2:05-cV-02286-BBD-STA Document 10 Filed 07/21/05 Page 3 of 5 Page|D 15

advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted

by the Rules prior to that date

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,

response, answer, or objection shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all motions
except motions pursuant to FRCP 12, 56, 59 and 60 shall be accompanied by a proposed order

and a certificate of consultation.

The parties are directed to engage in court-annexed attorney mediation or private

mediation on or before the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except

motions pursuant to Fed.R.Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, if necessary, it shall file a motion for leave to file a reply

accompanied by a memorandum setting forth the reasons for which a reply is required

Case 2:05-cV-02286-BBD-STA Document 10 Filed 07/21/05 Page 4 of 5 Page|D 16
The parties have not consented to trial before the magistrate judge
This order has been entered after consultation with trial counsel pursuant to notice

Absent good cause shown, the scheduling dates set by this order will not be modified or

extended

IT IS SO ORDERED.

gen @J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE: gill 20;, 200(

   

 

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Attorney for Plaintiff

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Carol AM'. Hayderf\/ /l2190
Attorney for Defendant, Patricia G. Moore

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Randy §ongstad
Attorney for Defendant, Carla M. Ketchum

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02286 was distributed by fax, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

